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                       UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,               Case No. 19-cr-10080-NMG

      Plaintiff,
v.

DAVID SIDOO, et al.,

      Defendants.



REPLY IN SUPPORT OF DEFENDANT WILLIAM MCGLASHAN, JR.’S MOTION TO
        COMPEL THE PRODUCTION OF MATERIALS PURSUANT TO
  BRADY V. MARYLAND AND FEDERAL RULE OF CRIMINAL PROCEDURE 16
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       Defendant William E. McGlashan, Jr. (“McGlashan”) respectfully submits the following

reply memorandum in support of his motion seeking a Court order requiring the Government to

produce material and exculpatory evidence in compliance with its discovery obligations pursuant

to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, Federal Rule of Criminal Procedure

16, and Local Rules 116.1(c)(1)(A) and 116.2.

                                  REQUEST FOR HEARING

       McGlashan respectfully requests that this Court hold a hearing on his motion.

                                       INTRODUCTION

       The Government relies on two remarkable propositions to justify its continued refusal to

produce the exculpatory Brady material requested by the defense: first, that anything that can be

characterized as Jencks witness material cannot be compelled until the latest statutory deadline,

regardless of its exculpatory nature; and second, that the Government’s view of the evidence

determines what is Brady. If the Government’s theory were law, no criminal defendant would

ever be entitled to seek Brady evidence: the Government charges defendants when it believes the

evidence supports their guilt, and therefore under the theory promoted in its opposition, the

Government’s view of guilt would govern and there would be no evidence capable of supporting

a claim of innocence.

       To avoid having to defend such an obviously untenable position, the Government asserts

that its disagreement with the defendants’ view of Brady “is not the basis for the instant discovery

dispute.” Government’s Opposition to Defendants’ Motions to Compel (“Opp.”) at 3. Instead,

the Government insists that its strident one-sided recitation of sometimes misstated facts and

recalcitrance in producing additional discovery is because “virtually all the evidence the

defendants seek either does not exist or has been produced.” Id. at 4. But that is not correct. As


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he has explained (and will explain again), McGlashan is entitled to multiple FBI 302 reports and

interview notes which the Government is withholding. Beyond those crucial witness materials,

the Government’s conduct to date provides little assurance to defendants that there are no other

Brady or Rule 16 materials in its possession: the Government belatedly and reluctantly trickled

out key exculpatory evidence more than half a year after arrest, including even the bombshell

disclosure that Singer told the Government that McGlashan would not be using the side door

several months before the Government charged McGlashan in the alleged scheme. Just this week,

the Government provided additional summaries of FBI 302 reports with information that is clearly

Brady, such as that Igor Dvorskiy “did not remember William McGlashan’s son or recall anything

unusual about his test.”1     This information should have been disclosed within 28 days of

McGlashan’s arraignment, not more than ten months after McGlashan’s arrest, after numerous

defense requests and a motion to compel. While the Government has eagerly listed the millions

of pages in discovery it has produced (providing a descriptive index for the first time only two

weeks ago after the last status conference), it has refused to identify those materials in its

possession that it has not yet produced. McGlashan therefore respectfully requests the Court’s

assistance in holding the Government to account.

                                   FACTUAL BACKGROUND

         Despite characterizing their version of the facts as an “accurate overview” of the “relevant

factual background,” Opp. at 4-5, the Government’s opposition is rife with misrepresentations,




1
    January 28, 2020 Letter from Justin D. O’Connell attached hereto as Ex. 1.


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omissions, and overstatements.2      These fact errors—woven throughout the Government’s

narrative—pointedly illustrate why the Government should not be trusted to second-guess what

the defense considers exculpatory evidence. Having already set forth his narrative in detail in his

opening brief, McGlashan here corrects only the most egregious misrepresentations in the

Government’s recitation.

       A.        McGlashan’s Son Used His Time Accommodations During the December
                 2017 ACT

       Contrary to the Government’s intimations, McGlashan’s son took the ACT on December

9, 2017 using the double time accommodations that had been approved by his neuropsychologist.

As set forth in the opening brief, McGlashan’s son was granted double time accommodation based

on a months-long assessment completed by a pediatric neuropsychologist years before McGlashan

became acquainted with Singer.3 When McGlashan’s son took the ACT in December 2017, he

used his time accommodation, VB-RECORDS-00295879,4 he just did not need the second full

day. ACT materials indicate that double time accommodations can be over a single day or multiple

days, and state that students “may not need the entire allotted time.” See, e.g., 2017 ACT




2
   The Government also continues to wage prejudicial class warfare by stoking public sentiment
against the relative wealth of the defendants, to include tactics such as including largely
irrelevant facts pertaining to McGlashan’s specific travel arrangements.
3
  McGlashan’s other son was similarly tested in a rigorous assessment well before Singer’s
involvement and received a recommendation of extended time. Opp. Ex. V.
4
 Contrary to the Government’s allegations, McGlashan’s son needed more than “a few hours” to
complete the exam. See Opp. at 10; VB-RECORDS-00295879.


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WorkKeys Administration Manual; 2019-2020 ACT WorkKeys Accessibility Supports Guide.5,6

There is nothing nefarious in McGlashan’s son receiving and using his double time

accommodation on some sections but not needing the full second day.

       McGlashan’s son received a 34 on the December 9, 2017 ACT.7 McGlashan’s son retook

the test in September 2019, receiving a score of 33 which represents a “true achievement” range

of 32-34.    MCG00000001.        Apparently considering a low-test score inculpatory, despite

continuing to maintain that a high-test score is not exculpatory, the Government states that

McGlashan’s son “received a score of 1190 on the [PSAT] equivalent to an ACT score of

approximately 24.” Opp. at 9, n. 8. The PSAT score is irrelevant. The ACT is scored entirely

differently from the SAT or PSAT, with students choosing one over the other because students

perform differently on each test. Furthermore, because the PSAT is not considered as part of the

college admissions process, many students take the PSAT without preparing in order to determine

if and in what areas additional preparation is required.8



5
  These documents are available at
http://www.act.org/content/dam/act/unsecured/documents/WKStateandDistrictAdminAccoms.pd
f and https://www.act.org/content/dam/act/unsecured/documents/pdfs/StateTesting-WKeys-
Accessibility-Supports-Guide.pdf respectively.
6
  The Government also states that Igor Dvorskiy submitted paperwork with false information to
the ACT. Opp. at 10; Ex. GG. Dvorskiy’s actions have no bearing on McGlashan’s knowledge
or intent.
7
  The Government still has not provided evidence that Riddell corrected McGlashan’s test. A
reference to Riddell and Dvorskiy’s Rule 11 statements that the Government helped shape and
furthermore has not actually produced to the defense does not suffice. See Opp. at 10, n. 9.
Furthermore, those statements appear to conflict with the Government’s recent disclosure that
“Dvorskiy did not remember William McGlashan’s son or recall anything unusual about his
test.” Ex. 1 at 2.
8
  See, e.g., https://collegereadiness.collegeboard.org/pdf/guide-2018-act-sat-concordance.pdf
(“The ACT and the SAT are different tests…[they are] not a perfect prediction of how a student

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       B.        McGlashan Did Not Pursue the Side Door

       The Government makes much ado about McGlashan’s conversations with Singer regarding

the side door. But, two facts remain clear. First, Singer’s only description of the financial

arrangement involved with the side door was that there would be an initial payment of $50,000 to

USC Women’s Athletics, followed by another payment of $200,000. Session 4146; Opp. at 12.

The Government has not provided any evidence that Singer described a bribe or suggested that the

money would go anywhere other than USC. In other words, the Government has not produced

any evidence that McGlashan had a basis to believe any such donation would be illegitimate.

       Second, McGlashan did not pursue the side door scheme. Although Singer and McGlashan

discussed the side door, Singer told government agents and Donna Heinel on two separate

occasions that McGlashan was not pursuing the side door. On September 27, 2018, Singer told

agents that McGlashan was not pursuing the side door. McGlashan’s Motion to Compel (“Mot.”)

at Ex. 1. A few weeks later, on October 16, 2018, Singer informed Heinel that McGlashan was

going a different route. DOJ-SINGER-TIII-00028907 (McGlashan has “family ties with Jimmy

Lovine (sic) and various board members and is going that route.”). McGlashan’s actions also

demonstrated that he had declined the side door: he pursued his contacts in early and mid-October,

which Singer had explicitly told him he should not do if he was considering the side door. See,

e.g., VB-RECORDS-00158688 (October 3, 2018 email discussing meeting “yesterday” with Erica

Muhl at the Iovine and Young Academy at USC); VB-RECORDS-00158682 (October 18, 2018




would perform on the other test….Users should avoid converting aggregate scores (e.g., mean,
median, ranges) using concordance tables, as this could introduce additional sources of error.”);
https://www.kaptest.com/study/psat/what-does-your-psat-score-mean-for-the-sat-or-act/;
https://www.usnews.com/education/blogs/college-admissions-playbook/2013/09/23/3-reasons-
your-psat-score-matters.

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email from Al Checchio in University Advancement to McGlashan introducing him to someone

who “works closely with the admissions office”); Session 4146; Ex. 1 at 3, 5. McGlashan’s son

was not submitted through the athletic subcommittee and McGlashan did not send USC or Singer

any money in connection with the side door. See VB-RECORDS-00124873.

       The Government points to two pieces of evidence to show that McGlashan was still

engaged with the side door after September 27, 2018: text messages between Singer and

McGlashan and a consensually recorded call on October 24, 2018.9 What the messages and calls

show are that from McGlashan’s perspective, he was continuing to retain Singer for his legitimate

counseling services and had not done anything with the side door.10 The only references to the

scheme are by Singer, after he had begun cooperating with the Government. To muddle the

timeline, the Government points to Singer’s September 30, 2018 text message to McGlashan

referencing the athletics subcommittee. But this was after Singer had begun cooperating and the

message raises questions about whether, like the consensually monitored phone call, the

Government almost certainly directed Singer to insert inculpatory statements, or if Singer on his




9
  The Government has stated in its most recent disclosure that Singer has advised that as of his
statement of September 27, 2018, McGlashan still intended to pursue the side door and did not
talk about potentially not pursuing the side door until October 24, 2018. Ex. 1 at 3-4. As with its
other summaries, the Government does not provide the date that this statement was made nor any
context for it. Since this new summary is contradicted not only by Singer’s prior statement but
by the documentary evidence that indicates both that McGlashan had decided not to pursue the
side door and communicated as much to Singer prior to October 24, 2018, it only further serves
to underscore why McGlashan is entitled to the full 302 reports to prepare his defense.
10
  According to the Government’s newest summary disclosures, Singer advised the Government
that he never saw McGlashan’s son again after the October 24 call. Ex. 1 at 4. However, Singer
was still providing college counseling and advice to McGlashan’s son through the end of 2018.
See Session 12452, DOJ-SINGER-TIII-00045232; USAO-VB-01116442.


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own motivation decided to insert a reference to the side door.11 Indeed, McGlashan did not respond

or further engage about the side door or USC athletics. And, tellingly, the Government’s

opposition does not mention Singer’s October 16 email informing Heinel that McGlashan was

going his own route.12

           THE COURT SHOULD COMPEL PRODUCTION OF BRADY AND
                             RULE 16 MATERIALS

       Within 28 days of his arraignment, McGlashan was entitled not only to evidence that so

much as casts doubt on his guilt, but also to evidence which is material to preparing his defense.

See Local Rule 116.2(a)(1) & 116.1(c)(1); Fed. R. Crim. P. 16(a)(1)(E). The “materiality”

showing under Rule 16 “is not a heavy burden” and is one a defendant can meet by explaining

why the evidence “may alter the quantum of proof” in his favor. See United States v. Poulin, 592

F. Supp. 2d 137, 143-44 (D. Me. 2008) (citations and internal quotations omitted); see also United

States v. Pesaturo, 519 F. Supp. 2d 177, 189 n.7 & 191 (D. Mass. 2007) (defendant entitled to

materials which are “significant” to preparing defense). Despite this, the Government waited

roughly six months to reveal even the most high-level summaries of plainly exculpatory

evidence—including an admission from the Government’s star cooperator that McGlashan was

not participating in the crime for which he was subsequently charged.




11
  According to the Government, they first approached Singer on September 21, 2018 and
obtained his agreement for consensual monitoring on or about September 27, 2018. Opp. at 32.
12
  Singer sent this email long before he allegedly told McGlashan about a possible investigation.
See DOJ-SINGER-TIII-00028907 (October 16 email to Heinel); Opp. Ex. SS (October 24 call
where Singer references a call “a couple days ago”); Initial Appearance Tr., ECF No. 229 at
18:10-13 (Government alleges that Singer told McGlashan he was under an IRS investigation “at
the end of October”).

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       Still, the Government persistently claims that because it has already produced a significant

number of documents, it is entitled to selectively withhold specific pieces of evidence McGlashan

has pointed to as either favorable, necessary to preparing his defense, or both. In so doing, the

Government challenges McGlashan’s factual claims, seemingly taking the position that it is not

required to construe any evidence as favorable so long as it believes that it has produced sufficient

evidence of his guilt.    The Government also invokes the Jencks Act as a justification for

withholding FBI 302 Reports that have already been proven to contain exculpatory evidence,

insisting that it is “the practice” in this District to “disclose Jencks Act material together with 21-

day material[.]” Opp. at 20. The Jencks Act and the Local Rules provide a deadline by which

evidence which has not yet been produced to a defendant must be handed over. But they are not

intended to be used as a shield to withhold evidence to which McGlashan is otherwise legally

entitled under the United States Constitution and the Federal Rules of Criminal Procedure.

Category 1: Evidence that McGlashan Did Not Understand Either Scheme to Involve

Bribery

       The Government alleges that McGlashan knowingly conspired with Singer to defraud both

the ACT and USC. Because it goes to the heart of the Government’s allegations, McGlashan seeks

evidence reflecting what and how much he knew about those schemes—including what he was led

to believe by his purported coconspirators. This includes, without limitation, 302 Reports in which

Singer or Riddell describe how they either deceived (or, alternatively, were forthcoming with)

McGlashan. The former would cast doubt on McGlashan’s guilt, while the latter is material to

preparing his defense. Either way, McGlashan was entitled to that information within 28 days of

his arraignment. See Fed. R. Crim. P. 16(a)(1)(E); L.R. 116.2(a)(1) & 116.1(c); Ferrara v. United

States, 384 F. Supp. 2d 384, 387-88, 423 (D. Mass. 2005) (government committed Brady error by

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withholding memorandum reflecting witness’ admission that defendant did not participate in crime

for which he was charged).

       Ignoring the abundance of caselaw cited in McGlashan’s motion, the Government contends

that it is entitled to withhold these materials because they are “inculpatory witness statements” and

therefore cannot be “material to preparing the defense.” Opp. at 28. Even if the Government were

correct that those 302 Reports contain nothing favorable to McGlashan—a proposition that is

highly unlikely in light of what the Government has begrudgingly revealed to-date—the

Government is plainly wrong that inculpatory witness statements cannot be material to preparing

a defense. Numerous courts in this Circuit have confirmed that whether evidence is “material”

within the meaning of Rule 16 turns not on whether evidence is exculpatory or inculpatory, but

simply on whether or not “there is a reasonable probability that the disclosure of [the] evidence

will affect the outcome of the case.” Pesaturo, 519 F. Supp. 2d at 191-92 (rejecting government’s

argument that it should not be required to produce Form 302 Reports containing “inculpatory

rather than exculpatory information” and granting motion to compel those Reports because “[t]he

text of Rule 16 … contains no limitation restricting its application to favorable information.”).

       Perplexingly, the Government also implies that it is not required to produce this evidence

because there is other evidence reflecting what McGlashan knew or did not know, such as

Riddell’s Rule 11 statement. Opp. at 30-31. Putting aside the absurdity of characterizing a

government-crafted statement of an admitted felon and cooperator as compelling evidence, the

Government does not (and cannot) cite any authority that entitles it to unilaterally withhold

material evidence because other types of evidence exist, whether in court filings or via a

Government production. See United States v. Olsen, 704 F.3d 1172, 1183 n.3 (9th Cir. 2013) (a

“trial prosecutor’s speculative prediction about the likely materiality of favorable evidence …

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should not limit the disclosure of such evidence, because it is just too difficult to analyze before

trial whether particular evidence ultimately will prove to be ‘material’ after trial”); United States

v. O’Brien, 2013 WL 1057929, at * n. 8 (D. Mass. March 13, 2013) (“The government has agreed

to produce spreadsheets containing only ‘some’ of the information responsive to [the request],

without explaining any basis for doing so. If the government has in its possession ‘all’ of the

requested information, it shall provide ‘all’ of the information to the defendants.”).

       The Government further claims that it may withhold evidence that McGlashan’s son had a

legitimate need for a testing accommodation because McGlashan already knows that his son had

a learning disability. See Opp. at 29 (citing United States v. Bender, 304 F.3d 161 (1st Cir. 2002)).

Taken to its logical extension, the Government apparently believes that only defendants who are

ignorant of their own innocence are entitled to Brady material. Not so. It may be true that evidence

which is already known to a defendant may not constitute Brady. See Bender, 304 F.3d at 161

(defendant not entitled to own medical records). But in most cases, Brady material will necessarily

reflect a fact already known to a defendant. To the extent the Government has evidence supporting

the fact that McGlashan’s son had a legitimate need for the accommodations he sought—such as

Singer’s statements to that effect—McGlashan is entitled to that evidence.13 See O’Brien, 2013

WL 1057929, at *6, 9 (granting motion to compel evidence that defendants were qualified for




13
  The Government’s assertion that it has “produced the relevant evidence in its possession,
custody, or control” (Opp. at 29) (emphasis added) begs the question of what relevance calls they
may have made to withhold evidence, since they still have not made any clear statement
regarding what they might have beyond the 302s that has not been produced.


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positions they held in case charging rigged hiring system, including “reports, memorandum, and

notes of all individuals who were interviewed informally”).14

       It is beyond dispute that evidence regarding what McGlashan knew with respect to Singer’s

methods not only could affect—but would likely determine—the outcome of the trial here.

McGlashan is entitled to inspect and evaluate that evidence.

Category 2: Evidence that McGlashan Did Not Participate in the Side Door Scheme

       McGlashan also seeks evidence reflecting the fact that he did not participate in the side

door scheme for which he is charged. Such evidence is plainly exculpatory under Brady and its

progeny. After months of evading McGlashan’s discovery requests, the Government finally

produced one sentence acknowledging that in September 2018, Singer advised the Government

that McGlashan would not be using the side door. The Government has provided no further details

about the substance or context of that conversation, insisting that it is “Jencks material to which

McGlashan is not now entitled.”15 Opp. at 32. But courts in this Circuit have made clear that the

Government may not use the Jencks Act as a shield to evade its Brady obligations. See United

States v. Snell, 899 F. Supp. 17, 19-21 (D. Mass. 1995) (Brady material “must be turned over

immediately” notwithstanding Jencks Act because it is “inconceivable that a statutory obligation



14
 The Government does not even purport to explain its belief that evidence regarding
McGlashan’s son’s legitimate need for testing accommodations would not be favorable to
McGlashan. See Opp. at 29.
15
   The Government also seemingly suggests that it is not required to disclose the Report because
it has thus far “disclosed the relevant information from that report.” Opp. at 32. But it is not for
the Government to decide what is relevant and what is not. See Olsen, 704 F.3d at 1183 n. 3; see
also United States v. Urciuoli, 470 F. Supp. 2d 109, 116 (D.R.I. 2007) (acknowledging that
summaries of 302s are “troublesome” because they might “omit previous [inconsistent]
statements” or “prevent counsel from attempting to show how a statement might have been
influenced by events occurring around the time that the statement was made”).


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should supersede a constitutional one”); see also United States v. Owens, 933 F. Supp. 76 at 84

(D. Mass. 1996) (compelling government to produce all exculpatory information, even if covered

by Jencks Act, because “[w]here a defendant’s constitutional due process rights under Brady clash

with the procedural dictates of the Jencks Act, the [constitutional] rights afforded to the defendant

must prevail”); Pesaturo, 519 F. Supp. 2d at 189 (granting pretrial motion to compel 302 Reports

containing Brady and Rule 16 material); O’Brien, 2013 WL 1057929, at *5 (requiring government

to produce exculpatory information even if such material also qualifies as Jencks Act material). 16

       This week, the Government provided no further details about that September 27 statement,

but produced a confusing, undated summary of an apparently subsequent statement or statements

in which Singer seemed to be attempting to recant his September 27 proffer. Ex. 1 at 3-4. Yet,

even in this alternative version, Singer reported that McGlashan talked about “potentially not

pursuing the side door.” McGlashan needs all of the 302 reports that discuss his decision not to

pursue the side door, as well as any additional evidence reflecting what he conveyed to Singer

about his unwillingness to participate in the side door. See Pesaturo, 519 F. Supp. 2d at 191-2

(granting motion to compel 302 reports, even where not exculpatory); O’Brien, 2013 WL 1057929,

at *9. Although the Government claims that it has produced “all text messages, e-mails, and calls

in its possession, custody or control between McGlashan and Singer,” Opp. at 31, the

communication(s) that would have formed the basis of Singer’s September 27 report to the

Government have not been produced or explained. If the Government truly has no other evidence

in its possession on this topic other than the 302 reports, that is yet more reason why McGlashan




16
   Furthermore, Local Rule 116.2(b)(5) instructs that where an item of exculpatory evidence can
be deemed to fall into different categories requiring different production dates, it shall be deemed
to fall into the category that requires the earliest production.

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needs those reports. They may contain details that the Government considers irrelevant but

McGlashan would consider significant to preparing his defense.

Category 3: Evidence Relevant to an Entrapment Defense

       McGlashan also seeks evidence reflecting when the Government began to use Singer as an

agent or when Singer first suspected that he was being investigated by the Government because

such evidence is relevant to an entrapment defense. See Pesaturo, 519 F. Supp. 2d at 191 (granting

motion to compel information concerning informant’s cooperation under Brady and Rule 16). The

Government makes no effort to explain why it should not be required to produce any such

evidence, instead stating summarily that it “has no information suggesting that Singer was aware

of the government’s investigation prior to September 21, 2018.” Opp. at 32. But McGlashan does

not have any evidence reflecting what actually happened on September 21, 2018. Contrary to the

Government’s claim, the general statements regarding “late September” contained in the

Complaint affidavit do not suffice to satisfy the Government’s discovery burden—particularly

where McGlashan has specifically asked for more information. See United States v. Bagley, 473

U.S. 667, 682-83 (1985) (“[T]he more specifically the defense requests certain evidence, thus

putting the prosecutor on notice of its value, the more reasonable it is for the defense to assume

from the nondisclosure that the evidence does not exist, and to make pretrial and trial decisions on

the basis of this assumption.”).

Category 4: Evidence that USC Was Not the Victim of Fraud

       McGlashan also seeks information showing that USC was familiar with Singer and his

method of getting students admitted to USC (or that McGlashan believed as much).                The

Government claims that it has no such evidence and has already “produced all the communications

in which Singer discussed the side door.” Opp. at 33. But the Government has not produced the

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FBI 302 Reports in which Singer explains how he operated his side door scheme, the context of

his connections with USC’s coaches and administrators, or the details of his conversations with

USC—either with respect to McGlashan’s son or any other child. Nor has the Government

provided 302 Reports of any other witness. The Government also fails to recognize the possibility

that there might be evidence beyond witness statements and direct communications between

McGlashan and Singer that might pertain to USC. McGlashan is entitled to a full picture of

Singer’s relationship with USC so that he can prove that USC was not defrauded. See O’Brien,

2013 WL 1057929, at *7 (allowing motion to compel evidence that probation department allegedly

defrauded by defendants actually permitted consideration of legislative recommendations and

sponsorship as a factor in determining which candidate was most qualified).

Category 5: Grand Jury Transcripts

       In an apparent attempt to avoid judicial scrutiny over the proceedings surrounding the

return of the Third Superseding Indictment (“TSI”), the Government obtained a Fourth

Superseding Indictment (“FSI”) the morning its Opposition was due and corrected or otherwise

altered the main errors identified by McGlashan.17 Ignoring the clearly articulated basis for

McGlashan’s request, the Government construes the request as a challenge to the sufficiency of

the evidence. It is not. McGlashan’s challenge is to the accuracy of the Government’s presentation

to the grand jury. Because such a knowing presentation of false facts could be grounds for

dismissal, McGlashan is entitled to, at minimum, in camera review of the transcript. See Fed. R.


17
   The Government did not correct an additional inaccuracy that McGlashan just noticed persists
in both the TSI and FSI. Both the TSI and FSI state that McGlashan’s son’s ACT score was
submitted to Northeastern on or about October 24, 2018. TSI ¶¶ 178, 320; FSI ¶¶ 200, 376. The
application and score were submitted on October 22, 2018. See VB-RECORDS-00114933 at
VB-RECORDS-00114997; USAO-VB-01107547-48; VB-RECORDS-00355608; Compl. ¶ 140,
n. 16.

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Crim. P. 6(e)(3)(E)(ii); see also United States v. Martinez, 710 F. Supp. 415, 417 (D.P.R. 1989)

(dismissal warranted where prosecutor was “either negligent in allowing [false testimony] to go to

grand jury or condon[ing false testimony].”). McGlashan also seeks in camera review of the grand

jury transcripts for the FSI to determine what, if anything, the Government told the grand jury

about the corrections.

                                        CONCLUSION

       For the foregoing reasons, as well as those set forth in his initial motion, McGlashan

respectfully requests that this Court order the Government to produce the requested materials.

Dated: January 31, 2020                                Respectfully submitted,



                                                  /s/ Jack W. Pirozzolo
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2020, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).

                                                   /s/ Jack W. Pirozzolo

                                                   Jack W. Pirozzolo




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